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      UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK
     ------------------------------------ x
     DERRICK ANDERSON, on behalf of himself and :                 Case no. 1:24-cv-2354
     all others similarly situated,             :
                                                :
                             Plaintiffs,        :
                                                :                 CLASS ACTION COMPLAINT
                              v.                :                           AND
                                                :                  DEMAND FOR JURY TRIAL
     Focus Camera, Inc.,                        :
                                                :
                             Defendant.         :
                                                :
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                                             INTRODUCTION

1.   Plaintiff, DERRICK ANDERSON (“Plaintiff” or “ANDERSON”), brings this action on behalf of

     himself and all other persons similarly situated against Focus Camera, Inc. (hereinafter “Focus

     Camera” or “Defendant”), and states as follows:

2.   Plaintiff is a visually-impaired and legally blind person who requires screen-reading software to

     read website content using his computer. Plaintiff uses the terms “blind” or “visually-impaired” to

     refer to all people with visual impairments who meet the legal definition of blindness in that they

     have a visual acuity with correction of less than or equal to 20 x 200. Some blind people who

     meet this definition have limited vision; others have no vision.

3.   Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in the United

     States are visually impaired, including 2.0 million who are blind, and according to the American

     Foundation for the Blind’s 2015 report, approximately 400,000 visually impaired persons live in

     the State of New York.




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4.   Plaintiff brings this civil rights action against Focus Camera for their failure to design, construct,

     maintain, and operate their website to be fully accessible to and independently usable by Plaintiff

     and other blind or visually-impaired persons. Defendant is denying blind and visually impaired

     persons throughout the United States with equal access to services Focus Camera provides to their

     non-disabled customers through https://www.focuscamera.com (hereinafter “Focuscamera.com”

     or “the website”). Defendant’s denial of full and equal access to its website, and therefore denial

     of its services offered, and in conjunction with its physical locations, is a violation of Plaintiff’s

     rights under the Americans with Disabilities Act (the “ADA”).

5.   Focuscamera.com provides to the public a wide array of services, price specials and other

     programs offered by Focus Camera. Focus Camera specializes in selling photography equipment

     and electronics, including cameras, lenses, televisions, headphones, speakers, home audio

     components and other consumer electronic devices. Yet, Focuscamera.com contains significant

     access barriers that make it difficult if not impossible for blind and visually-impaired customers to

     use the website. In fact, the access barriers make it impossible for blind and visually-impaired

     users to enjoy and learn about the services at Focuscamera.com prior to entering Defendant’s

     physical location. Thus, Focus Camera excludes the blind and visually-impaired from the full and

     equal participation in the growing Internet economy that is increasingly a fundamental part of the

     common marketplace and daily living. In the wave of technological advances in recent years,

     assistive computer technology is becoming an increasingly prominent part of everyday life,

     allowing blind and visually-impaired persons to fully and independently access a variety of

     services.

6.   The blind have an even greater need than the sighted to have access to various websites in order to

     compare merchandise, benefits and prices, to get more information about the companies, their




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     locations and hours of operation. The lack of an accessible website deters blind people from

     visiting Defendant’s physical location and enjoying services that it provides to the public.


7.   Despite readily available accessible technology, such as the technology in use at other heavily

     trafficked websites, which makes use of alternative text, accessible forms, descriptive links,

     resizable text and limits the usage of tables and JavaScript, Defendant has chosen to rely on an

     exclusively visual interface. Focus Camera’s sighted customers can independently browse and

     learn more information about the company and its services without the assistance of others.

     However, blind persons must rely on sighted companions to assist them in accessing

     Focuscamera.com.

8.   By failing to make the website accessible to blind persons, Defendant is violating basic equal

     access requirements under both state and federal law.

9.   Congress provided a clear and national mandate for the elimination of discrimination against

     individuals with disabilities when it enacted the ADA. Such discrimination includes barriers to

     full integration, independent living, and equal opportunity for persons with disabilities, including

     those barriers created by websites and other public accommodations that are inaccessible to blind

     and visually impaired persons. Similarly, New York state law requires places of public

     accommodation to ensure access to goods, services, and facilities by making reasonable

     accommodations for persons with disabilities.

10. Plaintiff browsed and intended to analyze and use services provided by Defendant on

     Focuscamera.com. Plaintiff, searching for a new TV with smart features, turned to Google to

     explore options and discovered Defendant's website. He wanted to explore their Electronics

     category and select an appropriate item, but because of accessibility issues encountered on the

     website, he found it challenging to efficiently select the product he was interested in. These




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    obstacles stopped him from proceeding with the purchase, leaving him unable to acquire the TV

    through the Defendant's online platform. However, unless Defendant remedies the numerous

    access barriers on its website, Plaintiff and Class members will continue to be unable to

    independently navigate, browse and use Focuscamera.com.

11. Because Defendant’s website, Focuscamera.com, is not equally accessible to blind and visually-

    impaired consumers, it violates the ADA. Plaintiff seeks a permanent injunction to cause a change

    in Focus Camera’s policies, practices, and procedures to that Defendant’s website will become

    and remain accessible to blind and visually-impaired consumers. This complaint also seeks

    compensatory damages to compensate Class members for having been subjected to unlawful

    discrimination.


                                     JURISDICTION AND VENUE


12. This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331 and 42 U.S.C.

    § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. § 12181, et seq., and 28

    U.S.C. § 1332. This Court also has supplemental jurisdiction over pursuant to 28 U.S.C. § 1367,

    over Plaintiff’s pendent claims under the New York State Human Rights Law, N.Y. Exec. Law,

    Article 15 (Executive Law § 290 et seq.) and the New York City Human Rights Law, N.Y.C.

    Administrative Code § 8-101 et seq. (“City Law”).

13. Venue is proper in this District of New York pursuant to 28 U.S.C. §§ 1391(b)(c) and 144(a)

    because Defendant conducts and continues to conduct a substantial and significant amount of

    business in this District, and a substantial portion of the conduct complained of herein occurred in

    this District because Plaintiff attempted to utilize, on a number of occasions, the subject Website

    within this Judicial District.




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14. Defendant is registered to do business in New York State and has been conducting business in

    New York State, including in this District. Defendant purposefully targets and otherwise solicits

    business from New York State residents through its website. Because of this targeting, it is not

    unusual for Focus Camera to conduct business with New York State residents. Defendant also has

    been and is committing the acts alleged herein in this District and has been and is violating the

    rights of consumers in this District and has been and is causing injury to consumers in this

    District. A substantial part of the act and omissions giving rise to Plaintiff’s claims have occurred

    in this District. Most courts support the placement of venue in the district in which Plaintiff tried

    and failed to access the Website. In Access Now, Inc. v. Otter Products, LLC 280 F.Supp.3d 287

    (D. Mass. 2017), Judge Patti B. Saris ruled that “although the website may have been created and

    operated outside of the district, the attempts to access the website in Massachusetts are part of the

    sequence of events underlying the claim. Therefore, venue is proper in [the District of

    Massachusetts].” Otter Prods., 280 F.Supp.3d at 294. This satisfies Due Process because the harm

    – the barred access to the website – occurred here.” Otter Prods., 280 F.Supp.3d at 293.


    Additionally, in Access Now, Inc. v. Sportswear, Inc., No. 17-cv-11211-NMG, 2018 Dist. LEXIS

    47318 (D. Mass. Mar. 22, 2018), Judge Nathaniel M. Gorton stated that the defendant “availed

    itself of the forum state’s economic activities by targeting the residents of the Commonwealth . . .

    Such targeting evinces a voluntary attempt to appeal to the customer base in the forum.”

    Sportswear, No. 1:17-cv-11211-NMG, 2018 U.S. Dist. LEXIS 47318 at *11. Thus, establishing a

    customer base in a particular district is sufficient cause for venue placement.


                                                 PARTIES


15. Plaintiff, is and has been at all relevant times a resident of Queens County, State of New York.




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16. Plaintiff is legally blind and a member of a protected class under the ADA, 42 U.S.C. § 12102(l)-

    (2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the New York

    State Human Rights Law and the New York City Human Rights Law. Plaintiff, DERRICK

    ANDERSON, cannot use a computer without the assistance of screen reader software. Plaintiff

    has been denied the full enjoyment of the facilities and services of Focuscamera.com as a result of

    accessibility barriers on Focuscamera.com.

17. Defendant, Focus Camera, Inc., is a New York Corporation doing business in this State with its

    principal place of business located at 895 McDonald Avenue, Brooklyn, NY, 11218. Plaintiff

    intended to visit Defendant’s physical location at the same address.

18. Focus Camera provides to the public a website known as Focuscamera.com which provides

    consumers with access to photography and musical equipment, electronics, and audio devices

    which Defendant offers in connection with their physical location. Consumers across the United

    States use Defendant’s website to find the information about the store locations and hours of

    operation, as well as information about the goods and services in its physical locations.

    Defendant’s website is a place of public accommodation within the definition of Title III of the

    ADA, 42 U.S.C. § 12181(7). See Victor Andrews v. Blick Art Materials, LLC, No. 17-cv-767,

    2017 WL 3278898 (E.D.N.Y. August 1, 2017). Plaintiff has been denied the full enjoyment of the

    facilities, goods and services of Focuscamera.com, as well as deprived of the opportunity to enjoy

    the facilities, goods and services of Defendant’s brick and mortar locations, as a result of

    accessibility barriers on Focuscamera.com.




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                                        NATURE OF THE CASE


19. The Internet has become a significant source of information, a portal, and a tool for conducting

    business, doing everyday activities such as shopping, learning, banking, researching, as well as

    many other activities for sighted, blind and visually-impaired persons alike.

20. The blind access websites by using keyboards in conjunction with screen-reading software which

    vocalizes visual information on a computer screen. Except for a blind person whose residual

    vision is still sufficient to use magnification, screen access software provides the only method by

    which a blind person can independently access the Internet. Unless websites are designed to allow

    for use in this manner, blind persons are unable to fully access Internet websites and the

    information, products and services contained therein.

21. For screen-reading software to function, the information on a website must be capable of being

    rendered into text. If the website content is not capable of being rendered into text, the blind user

    is unable to access the same content available to sighted users.

22. Blind users of Windows operating system-enabled computers and devices have several screen-

    reading software programs available to them. NonVisual Desktop Access, otherwise known as

    “NVDA”, is currently one of the most popular, and downloaded screen-reading software

    programs available for blind computer users.

23. The international website standards organization, the World Wide Web Consortium, known

    throughout the world as W3C, has published version 2.1 of the Web Content Accessibility

    Guidelines (“WCAG 2.1”). WCAG 2.1 are well-established guidelines for making websites

    accessible to blind and visually-impaired persons. These guidelines are universally followed by

    most large business entities and government agencies to ensure their websites are accessible.

    Many Courts have also established WCAG 2.1 as the standard guideline for accessibility. The




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    federal government has also promulgated website accessibility standards under Section 508 of the

    Rehabilitation Act. These guidelines are readily available via the Internet, so that a business

    designing a website can easily access them. These guidelines recommend several basic

    components for making websites accessible, including but not limited to: adding invisible alt-text

    to graphics, ensuring that all functions can be performed using a keyboard and not just a mouse,

    ensuring that image maps are accessible, and adding headings so that blind persons can easily

    navigate the site. Without these very basic components, a website will be inaccessible to a blind

    person using a screen reader. Websites need to be accessible to the “least sophisticated” user of

    screen-reading software and need to be able to work with all browsers. Websites need to be

    continually updated and maintained to ensure that they remain fully accessible.


                                        FACTUAL ALLEGATIONS


24. Defendant controls and operates Focuscamera.com in New York State and throughout the United

    States.

25. Focuscamera.com is a commercial website and online platform that provides a large variety of

    electronics and photography equipment offered by Defendant in connection with its physical

    locations.

26. Among the features offered by Focuscamera.com are the following:


          a) Customers may find information about store locations and hours of operation, as well as

                information about the services in its physical locations, and find information about

                available offers and programs;

          b) Consumers may use the website to connect with Focus Camera, Inc. on various social

                media platforms, including Facebook, Twitter, Instagram, YouTube;




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          c) Learning about the company and reading customer reviews and blog posts, amongst

             other features.

27. This case arises out of Focus Camera’s policy and practice of denying the blind access to the

    services offered by Focuscamera.com. Due to Focus Camera’s failure and refusal to remove

    access barriers to Focuscamera.com, blind individuals have been and are being denied equal

    access to Focus Camera, as well as to the numerous goods, services and benefits offered to the

    public through Focuscamera.com.

28. Focus Camera denies the blind access to goods, services and information made available through

    Focuscamera.com by preventing them from freely navigating Focuscamera.com.

29. Focuscamera.com contains access barriers that prevent free and full use by Plaintiff and blind

    persons using keyboards and screen-reading software. These barriers are pervasive and include,

    but are not limited to: inaccurate landmark structure, hidden elements on the web page,

    inadequate focus order, ambiguous link texts, inaccessible contact information, changing of

    content without advance warning, the denial of keyboard access for some interactive elements,

    redundant links where adjacent links go to the same URL address, and the requirement that

    transactions be performed solely with a mouse.

30. Alternative text (“Alt-text”) is invisible code embedded beneath a graphical image on a website.

    Web accessibility requires that alt-text be coded with each picture so that a screen-reader can

    speak the alternative text while sighted users see the picture. Alt-text does not change the visual

    presentation except that it appears as a text pop-up when the mouse moves over the picture. There

    are many important pictures on Focuscamera.com that lack a text equivalent. The lack of alt-text

    on these graphics prevents screen readers from accurately vocalizing a description of the graphics

    (screen-readers detect and vocalize alt-text to provide a description of the image to a blind




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    computer user). As a result, Plaintiff and blind Focuscamera.com customers are unable to

    determine what is on the website.

31. Focuscamera.com also lacks prompting information and accommodations necessary to allow

    blind customers who use screen-readers to locate and accurately fill-out online forms. Due to lack

    of adequate labeling, Plaintiff and blind customers cannot find information about the store, its

    services and location, offered by Defendant in connection with its physical locations.

32. When visiting the Website, Plaintiff, using NVDA, encountered the following specific

    accessibility issues:


              a) Plaintiff was disoriented when the automatic pop-up window appeared on the web

                  page. Plaintiff, as a legally blind user, had significant difficulty knowing when

                  automatic visual context change had occurred, such as a new window popping up;

              b) Names for landmarks were not provided and could not be associated with specific

                  regions of the home page. It was difficult for Plaintiff to navigate through the page

                  using landmarks as it was unclear what regions the empty landmarks led to;

              c) The Navigation sub-menus with drop-down lists did not announce their state -

                  “collapsed” or “expanded”. Plaintiff could not determine in which part of the sub-

                  menu the keyboard focus was located or if the links were skipped;

              d) Moving content had no mechanism to pause the movement. The mechanism should

                  be provided to allow the user to read moving content in a static area. The mechanism

                  must be accessible to the assistive technology and keyboard;

              e) The Carousel region from the website did not comply with necessary accessibility

                  standards. Thus Plaintiff could not control the moving content on the home page;

              f) Interactive elements from the website could not be focused with the Tab key. The




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      website did not provide helpful instructions on how to access the interactive element

      using arrow keys. Plaintiff did not know about the interactive element from the page;

   g) Several links had ambiguous texts that were unclear to Plaintiff. Lack of detailed

      description of the link target and destination page made it difficult for Plaintiff to

      perceive their purpose;

   h) On the website, Plaintiff encountered long link descriptions (more than 100

      characters), the messages of which were difficult to understand with the screen

      reader software;

   i) Links led to other websites and did not indicate that they were external. Plaintiff was

      disoriented on another website. The link text failed to warn legally blind customers

      about the significant change of the context;

   j) Plaintiff was not aware of the search suggestions after the key term was entered into

      the Search bar. The status update about search suggestions was not provided even

      though the search suggestions were displayed;

   k) Plaintiff encountered hidden elements which was not announced by the screen

      reader. Plaintiff tabbed through interactive elements but due to the fact that they

      were not voiced by the assistive technology, Plaintiff was unaware what elements

      were skipped

   l) Plaintiff was forced to repeatedly tab through elements with the same destination:

      the link text of products conveyed similar information and led to the same

      destinations as interactive images above the links;

   m) Different images of the same product had similar alternative text. Plaintiff could not

      learn more detailed information about the product and its features;




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             n) In an attempt to add the selected item to the cart, Plaintiff encountered a

                 confirmation message that was not announced by the screen reader software.

                 Plaintiff was not informed whether or not the item was placed to the Cart;

             o) Interactive elements on the web page had inappropriate and non-descriptive name.

                 Plaintiff could not identify the purpose of the interactive element;

             p) Errors are not associated with corresponding forms and fail to clearly indicate which

                 field had the problem so the user can easily navigate to it. Fields must be marked as

                 containing an error and must be announced by the assistive technology.

             q) The phone number on the website was presented in plain text, and therefore was

                 non-interactive and inaccessible to the screen reader. As a result, Plaintiff was

                 unable to contact customer support to clarify details about products or purchase

                 procedure.


    Consequently, blind customers are essentially prevented from the ability to enjoy and use

    Defendant’s Focuscamera.com.


33. Focuscamera.com requires the use of a mouse to complete a transaction. Yet, it is a fundamental

    tenet of web accessibility that for a web page to be accessible to Plaintiff and blind people, it must

    be possible for the user to interact with the page using only the keyboard. Indeed, Plaintiff and

    blind users cannot use a mouse because manipulating the mouse is a visual activity of moving the

    mouse pointer from one visual spot on the page to another. Thus, Focuscamera.com’s inaccessible

    design, which requires the use of a mouse, denies Plaintiff and blind customers the ability to

    independently navigate Focuscamera.com.

34. Due to Focuscamera.com’s inaccessibility, Plaintiff and blind customers cannot find information

    about the location of store, provided services and some additional information about the services



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    and goods located in store. By contrast, if Focuscamera.com was accessible, a blind person could

    independently investigate services, compare features, discounts, promotions and prices via the

    Internet as sighted individuals can and do. According to WCAG 2.1 Guideline 3.2.1 “On Focus”,

    functionality of the components should be predictable as customers navigate their way through

    the website. Plaintiff encountered numerous obstacles on Focuscamera.com automatic pop-ups

    and links that open new windows without prior warning. These obstacles can significantly

    disorient legally blind customers. Plaintiff had difficulty in determining when the automatic

    change in visual context occurred on the website. Thus, Focus Camera has inaccessible design

    that deprives the Plaintiff and blind customers of the opportunity to use and enjoy

    Focuscamera.com on their own.

35. Focuscamera.com thus contains access barriers which deny the full and equal access to Plaintiff,

    who would otherwise use Focuscamera.com and who would otherwise be able to fully and

    equally enjoy the benefits and services of Focuscamera.com in New York State and throughout

    the United States.

36. Plaintiff, DERRICK ANDERSON, has made an attempt to visit and use Focuscamera.com. He

    tried to learn more information about the goods and services offered by the company and to

    purchase a TV on March 12, 2024, but was unable to do so independently because of the many

    access barriers on Defendant’s website. These access barriers have caused Focuscamera.com to be

    inaccessible to, and not independently usable by blind and visually-impaired persons. Amongst

    other access barriers experienced, Plaintiff was unable to learn more information about store

    locations and hours of operation, compare prices and benefits and learn more information about

    the goods and services in its physical location.




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37. Moreover, Plaintiff will visit the website again immediately upon Defendant correcting the

    numerous accessibility barriers on it. Plaintiff enjoys the website for its large variety of

    electronics, and the benefit of free shipping, and would like to visit one of the Defendant’s

    physical store locations.

38. As described above, Plaintiff has actual knowledge of the fact that Defendant’s website,

    Focuscamera.com, contains access barriers causing the website to be inaccessible, and not

    independently usable by, blind and visually-impaired persons.

39. These barriers to access have denied Plaintiff full and equal access to, and enjoyment of, the

    benefits and services of Focuscamera.com.

40. Defendant engaged in acts of intentional discrimination, including but not limited to the following

    policies or practices:


             (a) constructed and maintained a website that is inaccessible to blind class members with

                knowledge of the discrimination; and/or

             (b) constructed and maintained a website that is sufficiently intuitive and/or obvious that

                is inaccessible to blind class members; and/or

             (c) failed to take actions to correct these access barriers in the face of substantial harm

                and discrimination to blind class members.


41. Defendant utilizes standards, criteria or methods of administration that have the effect of

    discriminating or perpetuating the discrimination of others.

42. Because of Defendant’s denial of full and equal access to, and enjoyment of, the goods, benefits

    and services of Focuscamera.com, Plaintiff and the class have suffered an injury-in-fact which is

    concrete and particularized and actual and is a direct result of Defendant’s conduct.




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                                    CLASS ACTION ALLEGATIONS


43. Plaintiff, on behalf of himself and all others similarly situated, seeks certification of the following

    nationwide class pursuant to Rule 23(a) and 23(b)(2) of the Federal Rules of Civil Procedure: “all

    legally blind individuals in the United States who have attempted to access Focuscamera.com and

    as a result have been denied access to the enjoyment of goods and services offered by

    Focuscamera.com, during the relevant statutory period.”

44. Plaintiff seeks certification of the following New York subclass pursuant to Fed.R.Civ.P. 23(a),

    23(b)(2), and, alternatively, 23(b)(3): “all legally blind individuals in New York State who have

    attempted to access Focuscamera.com and as a result have been denied access to the enjoyment of

    goods and services offered by Focuscamera.com, during the relevant statutory period.”

45. There are hundreds of thousands of visually-impaired persons in New York State. There are

    approximately 8.1 million people in the United States who are visually-impaired. Id. Thus, the

    persons in the class are so numerous that joinder of all such persons is impractical and the

    disposition of their claims in a class action is a benefit to the parties and to the Court.

46. This case arises out of Defendant’s policy and practice of maintaining an inaccessible website

    denying blind persons access to the goods and services of Focuscamera.com. Due to Defendant’s

    policy and practice of failing to remove access barriers, blind persons have been and are being

    denied full and equal access to independently browse Focuscamera.com.

47. There are common questions of law and fact common to the class, including without limitation,

    the following:


             (a) Whether Focuscamera.com is a “public accommodation” under the ADA;

             (b) Whether Focuscamera.com is a “place or provider of public accommodation” under

                 the laws of New York;



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             (c) Whether Defendant, through its website, Focuscamera.com, denies the full and equal

                 enjoyment     of    its   goods,   services,   facilities,   privileges,   advantages,   or

                 accommodations to people with visual disabilities in violation of the ADA; and

             (d) Whether Defendant, through its website, Focuscamera.com, denies the full and equal

                 enjoyment     of    its   goods,   services,   facilities,   privileges,   advantages,   or

                 accommodations to people with visual disabilities in violation of the law of New

                 York.


48. The claims of the named Plaintiff are typical of those of the class. The class, similar to the

    Plaintiff, is severely visually-impaired or otherwise blind, and claims Focus Camera has violated

    the ADA, and/or the laws of New York by failing to update or remove access barriers on their

    website, Focuscamera.com, so it can be independently accessible to the class of people who are

    legally blind.

49. Plaintiff will fairly and adequately represent and protect the interests of the members of the Class

    because Plaintiff has retained and is represented by counsel competent and experienced in

    complex class action litigation, and because Plaintiff has no interests antagonistic to the members

    of the class. Class certification of the claims is appropriate pursuant to Fed. R. Civ. P. 23(b)(2)

    because Defendant has acted or refused to act on grounds generally applicable to the Class,

    making appropriate both declaratory and injunctive relief with respect to Plaintiff and the Class as

    a whole.

50. Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because questions of

    law and fact common to Class members clearly predominate over questions affecting only

    individual class members, and because a class action is superior to other available methods for the

    fair and efficient adjudication of this litigation.




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51. Judicial economy will be served by maintenance of this lawsuit as a class action in that it is likely

    to avoid the burden that would be otherwise placed upon the judicial system by the filing of

    numerous similar suits by people with visual disabilities throughout the United States.

52. References to Plaintiff shall be deemed to include the named Plaintiff and each member of the

    class, unless otherwise indicated.


                                         FIRST CAUSE OF ACTION

         (Violation of 42 U.S.C. §§ 12181 et seq. – Title III of the Americans with Disabilities Act)


53. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs 1

    through 56 of this Complaint as though set forth at length herein.

54. Title III of the American with Disabilities Act of 1990, 42 U.S.C. § 12182(a) provides that “No

    individual shall be discriminated against on the basis of disability in the full and equal enjoyment

    of the goods, services, facilities, privileges, advantages, or accommodations of any place of public

    accommodation by any person who owns, leases (or leases to), or operates a place of public

    accommodation.” Title III also prohibits an entity from “[u]tilizing standards or criteria or

    methods of administration that have the effect of discriminating on the basis of disability.” 42

    U.S.C. § 12181(b)(2)(D)(I).

55. Focuscamera.com is a public accommodation within the definition of 42 U.S.C. §§ 12181(7).

56. Defendant is subject to Title III of the ADA because it owns and operates Focuscamera.com.

57. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(I), it is unlawful discrimination to deny

    individuals with disabilities or a class of individuals with disabilities the opportunity to participate

    in or benefit from the goods, services, facilities, privileges, advantages, or accommodations of an

    entity.




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58. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful discrimination to deny

    individuals with disabilities or a class of individuals with disabilities an opportunity to participate

    in or benefit from the goods, services, facilities, privileges, advantages, or accommodation, which

    is equal to the opportunities afforded to other individuals.

59. Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II), unlawful discrimination

    includes, among other things, “a failure to make reasonable modifications in policies, practices, or

    procedures, when such modifications are necessary to afford such goods, services, facilities,

    privileges, advantages, or accommodations to individuals with disabilities, unless the entity can

    demonstrate that making such modifications would fundamentally alter the nature of such goods,

    services, facilities, privileges, advantages or accommodations.”

60. In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III), unlawful discrimination

    also includes, among other things, “a failure to take such steps as may be necessary to ensure that

    no individual with disability is excluded, denied services, segregated or otherwise treated

    differently than other individuals because of the absence of auxiliary aids and services, unless the

    entity can demonstrate that taking such steps would fundamentally alter the nature of the good,

    service, facility, privilege, advantage, or accommodation being offered or would result in an

    undue burden.”

61. There are readily available, well-established guidelines on the Internet for making websites

    accessible to the blind and visually-impaired. These guidelines have been followed by other

    business entities in making their websites accessible, including but not limited to ensuring

    adequate prompting and accessible alt-text. Incorporating the basic components to make their

    website accessible would neither fundamentally alter the nature of Defendant’s business nor result

    in an undue burden to Defendant.




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62. The acts alleged herein constitute violations of Title III of the ADA, 42 U.S.C. § 12101 et seq.,

    and the regulations promulgated thereunder. Patrons of Focus Camera who are blind have been

    denied full and equal access to Focuscamera.com, have not been provided services that are

    provided to other patrons who are not disabled, and/or have been provided services that are

    inferior to the services provided to non-disabled patrons.

63. Defendant has failed to take any prompt and equitable steps to remedy its discriminatory conduct.

    These violations are ongoing.

64. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class and subclass on the basis of disability in the full and equal

    enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

    opportunities of Focuscamera.com in violation of Title III of the Americans with Disabilities Act,

    42 U.S.C. §§ 12181 et seq. and/or its implementing regulations.

65. Unless the Court enjoins Defendant from continuing to engage in these unlawful practices,

    Plaintiff and members of the proposed class and subclass will continue to suffer irreparable harm.

66. The actions of Defendant were and are in violation of the ADA, and therefore Plaintiff invokes

    his statutory right to injunctive relief to remedy the discrimination.

67. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

68. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and incorporated

    therein, Plaintiff prays for judgment as set forth below.

                                      SECOND CAUSE OF ACTION

                      (Violation of New York State Human Rights Law, N.Y. Exec. Law
                                  Article 15 (Executive Law § 292 et seq.))


69. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs

    1 through 72 of this Complaint as though set forth at length herein.



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70.    N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory practice for any

      person, being the owner, lessee, proprietor, manager, superintendent, agent, or employee of any

      place of public accommodation . . . because of the . . . disability of any person, directly or

      indirectly, to refuse, withhold from or deny to such person any of the accommodations,

      advantages, facilities or privileges thereof.”

71. Focuscamera.com is a public accommodation within the definition of N.Y. Exec. Law § 292(9).

72. Defendant is subject to the New York Human Rights Law because it owns and operates

      Focuscamera.com. Defendant is a person within the meaning of N.Y. Exec. Law. § 292(1).

73. Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or remove access barriers

      to Focuscamera.com, causing Focuscamera.com to be completely inaccessible to the blind. This

      inaccessibility denies blind patrons the full and equal access to the facilities, goods and services

      that Defendant makes available to the non-disabled public.

74.    Specifically, under N.Y. Exec. Law § unlawful discriminatory practice includes, among other

      things, “a refusal to make reasonable modifications in policies, practices, or procedures, when

      such modifications are necessary to afford facilities, privileges, advantages or accommodations to

      individuals with disabilities, unless such person can demonstrate that making such modifications

      would fundamentally alter the nature of such facilities, privileges, advantages or

      accommodations.”

75. In addition, under N.Y. Exec. Law § 296(2)(c)(II), unlawful discriminatory practice also includes,

      “a refusal to take such steps as may be necessary to ensure that no individual with a disability is

      excluded or denied services because of the absence of auxiliary aids and services, unless such

      person can demonstrate that taking such steps would fundamentally alter the nature of the facility,

      privilege, advantage or accommodation being offered or would result in an undue burden.”




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76. There are readily available, well-established guidelines on the Internet for making websites

    accessible to the blind and visually-impaired. These guidelines have been followed by other

    business entities in making their website accessible, including but not limited to: adding alt-text to

    graphics and ensuring that all functions can be performed by using a keyboard. Incorporating the

    basic components to make their website accessible would neither fundamentally alter the nature

    of Defendant’s business nor result in an undue burden to Defendant.

77. Defendant’s actions constitute willful intentional discrimination against the class on the basis of a

    disability in violation of the New York State Human Rights Law, N.Y. Exec. Law § 296(2) in that

    Defendant has:


             (a) constructed and maintained a website that is inaccessible to blind class members with

                 knowledge of the discrimination; and/or

             (b) constructed and maintained a website that is sufficiently intuitive and/or obvious that

                 is inaccessible to blind class members; and/or

             (c) failed to take actions to correct these access barriers in the face of substantial harm

                 and discrimination to blind class members.


78. Defendant has failed to take any prompt and equitable steps to remedy their discriminatory

    conduct. These violations are ongoing.

79. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class and subclass on the basis of disability in the full and equal

    enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

    opportunities of Focuscamera.com under N.Y. Exec. Law § 296(2) et seq. and/or its

    implementing regulations. Unless the Court enjoins Defendant from continuing to engage in these

    unlawful practices, Plaintiff and members of the class will continue to suffer irreparable harm.



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80. The actions of Defendant were and are in violation of the New York State Human Rights Law and

    therefore Plaintiff invokes his right to injunctive relief to remedy the discrimination.

81. Plaintiff is also entitled to compensatory damages, as well as civil penalties and fines pursuant to

    N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.

82. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

83. Pursuant to N.Y. Exec. Law § 297 and the remedies, procedures, and rights set forth and

    incorporated therein, Plaintiff prays for judgment as set forth below.


                                         THIRD CAUSE OF ACTION

                                (Violation of New York State Civil Rights Law,
                               NY CLS Civ R, Article 4 (CLS Civ R § 40 et seq.))


84. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs

    1 through 87 of this Complaint as though set forth at length herein.

85. Plaintiff served notice thereof upon the attorney general as required by N.Y. Civil Rights Law §

    41.

86. N.Y. Civil Rights Law § 40 provides that “all persons within the jurisdiction of this state shall be

    entitled to the full and equal accommodations, advantages, facilities, and privileges of any places

    of public accommodations, resort or amusement, subject only to the conditions and limitations

    established by law and applicable alike to all persons. No persons, being the owner, lessee,

    proprietor, manager, superintendent, agent, or employee of any such place shall directly or

    indirectly refuse, withhold from, or deny to any person any of the accommodations, advantages,

    facilities and privileges thereof . . .”

87. N.Y. Civil Rights Law § 40-c(2) provides that “no person because of . . . disability, as such term

    is defined in section two hundred ninety-two of executive law, be subjected to any discrimination




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    in his or her civil rights, or to any harassment, as defined in section 240.25 of the penal law, in the

    exercise thereof, by any other person or by any firm, corporation or institution, or by the state or

    any agency or subdivision.”

88. Focuscamera.com is a public accommodation within the definition of N.Y. Civil Rights Law §

    40-c(2).

89. Defendant is subject to New York Civil Rights Law because it owns and operates

    Focuscamera.com. Defendant is a person within the meaning of N.Y. Civil Law § 40-c(2).

90. Defendant is violating N.Y. Civil Rights Law § 40-c(2) in refusing to update or remove access

    barriers to Focuscamera.com, causing Focuscamera.com to be completely inaccessible to the

    blind. This inaccessibility denies blind patrons full and equal access to the facilities, goods and

    services that Defendant makes available to the non-disabled public.

91. There are readily available, well-established guidelines on the Internet for making websites

    accessible to the blind and visually-impaired. These guidelines have been followed by other

    business entities in making their website accessible, including but not limited to: adding alt-text to

    graphics and ensuring that all functions can be performed by using a keyboard. Incorporating the

    basic components to make their website accessible would neither fundamentally alter the nature

    of Defendant’s business nor result in an undue burden to Defendant.

92. In addition, N.Y. Civil Rights Law § 41 states that “any corporation which shall violate any of the

    provisions of sections forty, forty-a, forty-b or forty two . . . shall for each and every violation

    thereof be liable to a penalty of not less than one hundred dollars nor more than five hundred

    dollars, to be recovered by the person aggrieved thereby . . .”

93. Specifically, under N.Y. Civil Rights Law § 40-d, “any person who shall violate any of the

    provisions of the foregoing section, or subdivision three of section 240.30 or section 240.31 of the




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    penal law, or who shall aid or incite the violation of any of said provisions shall for each and

    every violation thereof be liable to a penalty of not less than one hundred dollars nor more than

    five hundred dollars, to be recovered by the person aggrieved thereby in any court of competent

    jurisdiction in the county in which the defendant shall reside . . .”

94. Defendant has failed to take any prompt and equitable steps to remedy their discriminatory

    conduct. These violations are ongoing.

95. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class on the basis of disability are being directly indirectly refused,

    withheld from, or denied the accommodations, advantages, facilities and privileges thereof in § 40

    et seq. and/or its implementing regulations.

96. Plaintiff is entitled to compensatory damages of five hundred dollars per instance, as well as civil

    penalties and fines pursuant to N.Y. Civil Rights Law § 40 et seq. for each and every offense.

                                     FOURTH CAUSE OF ACTION
                              (Violation of New York City Human Rights Law,
                                N.Y.C. Administrative Code § 8-102, et seq.)


97. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs 1

    through 100 of this Complaint as though set forth at length herein.

98. N.Y.C. Administrative Code § 8-107(4)(a) provides that “it shall be an unlawful discriminatory

    practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent or

    employee of any place or provider of public accommodation, because of . . . disability . . . directly

    or indirectly, to refuse, withhold from or deny to such person, any of the accommodations,

    advantages, facilities or privileges thereof.”

99. Focuscamera.com is a public accommodation within the definition of N.Y.C. Administrative

    Code § 8-102(9).



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100. Defendant is subject to City Law because it owns and operates Focuscamera.com. Defendant is a

    person within the meaning of N.Y.C. Administrative Code § 8-102(1).

101. Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing to update or remove

    access barriers to Focuscamera.com, causing Focuscamera.com to be completely inaccessible to

    the blind. This inaccessibility denies blind patrons full and equal access to the facilities, goods,

    and services that Defendant makes available to the non-disabled public. Specifically, Defendant is

    required to “make reasonable accommodation to the needs of persons with disabilities . . . any

    person prohibited by the provisions of [§ 8-107 et seq.] from discriminating on the basis of

    disability shall make reasonable accommodation to enable a person with a disability to . . . enjoy

    the right or rights in question provided that the disability is known or should have been known by

    the covered entity.” N.Y.C. Administrative Code § 8107(15)(a).

102. Defendant’s actions constitute willful intentional discrimination against the class on the basis of a

    disability in violation of the N.Y.C. Administrative Code § 8-107(4)(a) and § 8-107(15)(a) in that

    Defendant has:


             (a) constructed and maintained a website that is inaccessible to blind class members with

                 knowledge of the discrimination; and/or

             (b) constructed and maintained a website that is sufficiently intuitive and/or obvious that

                 is inaccessible to blind class members; and/or

             (c) failed to take actions to correct these access barriers in the face of substantial harm

                 and discrimination to blind class members.


103. Defendant has failed to take any prompt and equitable steps to remedy their discriminatory

    conduct. These violations are ongoing.




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104. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class and subclass on the basis of disability in the full and equal

    enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

    opportunities of Focuscamera.com under N.Y.C. Administrative Code § 8-107(4)(a) and/or its

    implementing regulations. Unless the Court enjoins Defendant from continuing to engage in these

    unlawful practices, Plaintiff and members of the class will continue to suffer irreparable harm.

105. The actions of Defendant were and are in violation of City law and therefore Plaintiff invokes his

    right to injunctive relief to remedy the discrimination.

106. Plaintiff is also entitled to compensatory damages, as well as civil penalties and fines under

    N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense.

107. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

108. Pursuant to N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) and the remedies, procedures,

    and rights set forth and incorporated therein, Plaintiff prays for judgment as set forth below.


                                        FIFTH CAUSE OF ACTION

                                              (Declaratory Relief)


109. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs

    1 through 112 of this Complaint as though set forth at length herein.

110. An actual controversy has arisen and now exists between the parties in that Plaintiff contends, and

    is informed and believes that Defendant denies, that Focuscamera.com contains access barriers

    denying blind customers the full and equal access to the goods, services and facilities of

    Focuscamera.com, which Focus Camera owns, operates and/or controls, fails to comply with

    applicable laws including, but not limited to, Title III of the American with Disabilities Act, 42




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    U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C. Administrative Code § 8-

    107, et seq. prohibiting discrimination against the blind.

111. A judicial declaration is necessary and appropriate at this time in order that each of the parties

    may know their respective rights and duties and act accordingly.


                                         PRAYER FOR RELIEF


    WHEREFORE, Plaintiff respectfully demands judgment in favor of Plaintiff and the class and

    against the Defendants as follows:


              a) A preliminary and permanent injunction to prohibit Defendant from violating the

                Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296,

                et seq., and N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

              b) A preliminary and permanent injunction requiring Defendant to take all the steps

                necessary to make its website, Focuscamera.com, into full compliance with the

                requirements set forth in the ADA, and its implementing regulations, so that

                Focuscamera.com is readily accessible to and usable by blind individuals;

              c) A declaration that Defendant owns, maintains and/or operates its website,

                Focuscamera.com, in a manner which discriminates against the blind and which fails

                to provide access for persons with disabilities as required by Americans with

                Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and

                N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

              d) An order certifying this case as a class action under Fed. R. Civ. P. 23(a) & (b)(2)

                and/or (b)(3), appointing Plaintiff as Class Representative, and his attorneys as Class

                Counsel;




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        e) An order directing Defendants to continually update and maintain its website to

           ensure that it remains fully accessible to and usable by the visually-impaired;


        f) Compensatory damages in an amount to be determined by proof, including all

           applicable statutory damages and fines, to Plaintiff and the proposed class for

           violations of their civil rights under New York State Human Rights Law and City

           Law;

        g) Plaintiff’s reasonable attorneys’ fees, expenses, and costs of suit as provided by state

           and federal law;

        h) For pre- and post-judgment interest to the extent permitted by law; and

        i) For such other and further relief which this court deems just and proper.


Dated: Hicksville, New York
March 29, 2024

                                           MARS KHAIMOV LAW, PLLC
                                           Attorney for Plaintiff

                                           /s/ Mars Khaimov

                                           By: Mars Khaimov, Esq.
                                               100 Duffy Avenue, Suite 510
                                               Hicksville, New York 11801
                                               Tel: +1 929-324-0717
                                               Fax: +1 929-333-7774
                                               Email: mars@khaimovlaw.com




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